                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                     3:05CR96

                                )
UNITED STATES OF AMERICA        )
                                )
            vs.                 )
                                )                                    ORDER
JOHN V. PIEDMONTE               )
SOUTHEAST MEDICAL MANAGEMENT )
TOTAL CARE FAMILY HEALTH CENTER )
                                )


       THIS MATTER is before the court on its own motion.

         IT IS ORDERED that the First Motion for Recusal and Remand is DENIED AS MOOT
as this case has been re-assigned to the undersigned.

        Further, the court finds that the ends of justice served by continuing this matter outweighs
the interest of the public and Defendant to a speedy trial as set forth in 18 U.S.C. 3161(h)(8)(1).

       IT IS THEREFORE ORDERED that this trial be scheduled for the December 5, 2005
term at 10:00 a.m. in the Charlotte Division.

        The Clerk is directed to certify copies of this order to Defendant, counsel for Defendant,
to the United States Attorney, the United States Marshals Service, and the U.S. Probation Office.

       IT IS SO ORDERED.




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                      Signed: September 28, 2005




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